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 1   ALAN HOSTETTER
     P.O. BOX 1477
 2   SAN CLEMENTE, CA 92674
 3

 4   Pro Se Defendant
 5

 6                                 UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF COLUMBIA
 8

 9   UNITED STATES OF AMERICA,                         ) Case No.: 21CR00392-RCL
                                                       )
10                   Plaintiff,                        )
                                                       )
11           vs.                                       )
                                                       )
12   ALAN HOSTETTER,                                   )
                                                       )
13                   Defendant.                        )
                                                       )
14
                                                       )
15                                                     )

16
                      NOTICE OF CORRECTION TO MOTION TO DISMISS
17

18                        On page 62 of defendant’s Motion to Dismiss submitted on December 6,

19   2021, defendant incorrectly identified a photograph of the Ebenezer Baptist Church as being

20   located in Mason, Tennessee. The church in the photograph on page 62 is actually located in

21   Atlanta, GA. Defendant appears to have confused the location of the Ebenezer Baptist Church
22   with the “Ebenezer Church” Cemetery, which is located in Mason, Tennessee. Defendant
23
     regrets the error.
24
                          At last count, as defendant prepares this “Supplemental Correction” to his
25
     motion, there appears to now be over 700 indictments related to the events of January 6, 2021
                                                      -1-
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 1   in Washington D.C. Co-defendant Russell Taylor was the person connecting defendant to the
 2   documentary film makers related to this supplemental correction.
 3
                       Of all the people across the country, indicted or otherwise, that might have
 4
     possibly been interviewed in said documentary, two of the four “Three Percenters” listed in
 5
     defendant’s indictment as “co-conspirators” were also interviewed by the documentary film
 6
     makers in question. Defendant does not know and has never knowingly communicated with
 7
     any of the “Three Percenters” listed in defendant’s indictment. Defendant believes his
 8
     participation in said documentary, facilitated by Russell Taylor, was a way for the
 9

10
     government to gather intelligence on defendant and subtly connect defendant to the Three

11   Percenters militia group.

12                     Defendant believes strongly that additional attempts by the government to

13   connect defendant to the “Three Percenters” group occurred on August 15, 2020 and on

14   September 11, 2020. These attempts were described in detail in defendant’s Motion to
15
     Dismiss. Defendant continues to believe, in spite of the unfortunate error related to the
16
     photograph being discussed in this supplemental motion, that his participation in said
17
     documentary with two co-defendants unknown to him was no “coincidence.”
18

19
                                                   Respectfully Submitted,
20
     DATED: December 9, 2021                       / s/
21
                                                   Alan S. Hostetter (Pro Se Defendant)
22

23

24

25

                                                    -2-
